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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


    TEXAS REFUSE, LLC,                        §
                                              §
          Plaintiff,                          §
                                              §
    and the                                   §
                                              §
    REPUBLIC SERVICES, INC.;                  §
    REPUBLIC SERVICES SAN                     §    NO: 5:18-cv-1240
    ANTONIO, LLC; RIVER                       §
    RECYCLING LLC D/B/A                       §
    RECOMMUNITY SAN ANTONIO,                  §
    LLC; RE COMMUNITY HOLDINGS                §
    II, INC.                                  §
                                              §
          Defendants.                         §
                                              §


                        DEFENDANTS’ NOTICE OF REMOVAL


TO THE HONORABLE JUDGE OF THIS COURT:

         Defendants RE Community Holdings II, Inc. 1 and River Recycling, LLC

(collectively, “Defendants”) file this Notice of Removal and hereby remove the above-

entitled civil action from the 73rd Judicial District Court in Bexar County, Texas, to this




1
 Plaintiffs misnamed RE Community Holdings, II as an “LLC” instead of a corporation. This
resulted in a misnomer as the correct Defendant has been served under an incorrect name. Barth
v. Bank of Am., N.A., 351 S.W.3d 875, 876-77 (Tex. 2011).
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United States District Court for the Western District of Texas San Antonio Division. 28

U.S.C. $$     144   t(a),1446.

               GROUNDS FOR REMOVAL: DIVERSITY JURISDICTION

         1.         Defendants invoke their right to remove "any civil action brought in a State

court ofwhich the district courts ofthe United States have original jurisdiction." 28 U.S.C.

g 1aa1(a). Federal district courts have original jurisdiction over civil actions if the parties

are citizens of different states and the amount in controversy exceeds $75,000. 28 U.S.C.

g 1332(a). Additionally, the doctrine of improper joinder (or fraudulent joinder) prevents

defeat of federal removal jurisdiction based on diversity by the presence of an irnproperly-

joined, non-diverse defendant. Borden v. Allstate Ins. Co.,589 F.3d 168, 171 (5th Cir.

200e).

         2.         In this case, two Defendants-Republic Services, Inc. and Republic Services

San Antonio,        LLC-have     been improperly joined, as is more    fully set forth below   and


should be dismissed. The remaining Defendants are completely diverse from Plaintiff and

the amount in controversy exceeds $75,000. As a result, this Court has subject-matter

jurisdiction over this matter pursuant to 28 U.S.C. $ 1332(a).

                                    PROCEDURAL HISTORY

         3.         River Recycling, LLC and RE Community Holdings II, Inc. (improperly

served as Re Community Holdings LLC) are Defendants in the civil action styled Texas

Refuse, LLC v. Republic Servíces, Inc., et al,CauseNo. 2018-CI-18570, in the 73rd Judicial

District Court in Bexar County, Texas ("state court action").


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       4.        Plaintiff Texas Refuse, LLC ("Plaintiff') filed the state court action on

September 25,2018. Defendants, RE Community Holdings                 II, Inc. and River Recycling,

LLC were served on November 2,2018.

       5.        All properly joined Defendants consent to this removal. By filing this Notice

of Removal, Defendants do not waive their right to assert any claims, defenses, or other

motions permitted under the Federal Rules of Civil Procedure.

       6.         Pursuant fo 28 U.S.C. $ 1446(a), a copy of all process, pleadings, and orders

served andlor filed in the state court action are attached to this Notice of Removal as Exhibit

B. An index of these documents         is attached as Exhibit   A. A complete   list of all counsel

of record is attached as Exhibit D.

                                              VENUE

       7   .      Venue is proper in this District pursuant to section l44l(a), which perrnits

removal to "the district court of the United States for the district and division embracing

the place where [the state action] is pending." 28 U.S.C. $ laa1(a).

                                 TIMELINESS OF REMOVAL

       8.         Defendant River Recycling,LLC and Re Community Holdings II, Inc. were

served with process on November          2,2018. Defendants fîled this Notice of Removal        on

November 28,2018. Because the Defendants filed this Notice of Removal within thitty

days of setvice of     Plaintiff s Original Petition   and the state court action has been pending

for less than one year, this Notice of Removal is timely. id. ç 1446(b).




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                            CITIZENSHIP OF THE PARTIES

       9.     Plaintiff Texas Refuse, LLC is a Texas for profit limited liability company.

       10.    One Defendant-River Recycling, LLC (the *LLC Defendant")-is                       a


limited liability company. The citizenship of a limited liability company is determined by

the citizenship of its members. Tewari De-Ox Systems, Inc. v. MountaÌn States/Rosen,

LLC,7 57 F .3d 481, 483 (5th Cir. 201Ð; Harvey v. Grey Wolf Drillíng Co., 542F .3d 1077 ,

1080 (5th Cir. 2008)    ("All   federal appellate courts that have addressed the issue have

reached   the same conclusion: like limited partnerships and other               unincorporated

associations or entities, the citizenship of a LLC is determined by the citizenship of all      of

its members."). River Recycling, LLC has one member - RE Community Holdings II, Inc.

Exhibit C, Declaration of Eileen B. Schuler. RE Community Holdings II, Inc.                     is

incorporated in Delaware and has its principal place of business in Arizona.           Id. Thus,
River Recycling,LLC is a citizen of Delaware and Arizona.

       11.    The remaining Defendant, RE Community Holdings II, Inc.            -   misnamed   as


Re Community Holdings II, LLC         - is a foreign corporation incorporated in the state of

Delaware with its principal place of business in Arizona. Exhibit C. As such, it is a citizen

of Delaware and Arizona. 28 U.S.C. $ 1332(c)(1)        ("[A] corporation   shall be deemed to be

a citizen of every State and foreign state by which it has been incorporated and the State or

foreign state where it has its principal place of business . . . .").




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       12.    Two other Defendants, as is further set forth below, Republic Services, Inc

and Republic Services San Antonio, LLC have been improperly joined in this action and

should be dismissed.

               LEGAL STANDARD F'OR A NOTICE OF REMOVAL

       13.    Section rua6@) specifies that a notice of removal must contain "a short and

plain statement of the grounds for removal." 28 U.S.C. $ Aa6@). This language

purposefully tracks the general pleading requirement stated in Rule 8(a) of the Federal

Rules of Civil Procedure. Dart Cherokee Basin Operating Co., LLC v. Owens,135 S. Ct.

547, 553, 190 L.   Ed.2d   495 (2014) (citing l4C C. Wright,       A. Miller, E. Cooper, &. J

Steinman, Federal Practice and Procedure $ 3733 ,pp.639-641        ( thed. 2009)). "Congress,
by borrowing the familiar 'short and plain statement' standard from Rule 8(a), intended to

'simplifu the "pleading" requirements for removal'    and   to clarify that courts should 'apply

the same liberal rules fto removal allegations] that are applied to other matters of

pleading."' Id. (citing H.R.Rep. No. 100-889, p. 7l (1988)).

                           ARGUMENT AND AUTHORITIES

       14.    Under 28 U.S.C. $ 1332(a), district courts "have original jurisdiction of all

civil actions where the matter in controversy       exceeds the sum      or value of   $75,000,

exclusive of interests and costs, and is between . . . citizens of different states." 28 U.S.C

$ 1332(a). For diversity jurisdiction to be proper, a "court must be certain thatall Plaintiffs

have a different citizenship from all defendants." Getty Oil Corp., a Div. of Texaco, Inc.

v. Insur. Co. of N.A., 841 F.2d 1254, 1258 (5th Cir. 1988). Additionally, a case may not


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be removed based on diversity jurisdiction   if "any of the parties in interest properly joined

and served as defendants is a citizen of the State in which such action is brought." 28

rj.s.c. $ 1441(bX2).

       15.    However, a removing defendant can establish diversity jurisdiction by

showing that a non-diverse defendant has been improperly,           or fraudulently,   joined.2

Smallwood v. Illinoís Cent. R. Co., 385 F.3d 568, 573 (5th Cir. 2004). In this case

Defendants Republic Services,      Inc. and Republic Services San Antonio, LLC              are

improperly joined

I.     Defendant Republic Services Inc. and Republic Services San Antonio, LLC are
       improperly joined.

       A.      Legal Standard for improper joinder.

       16. A defendant may establish improper joinder by showing              either: (1) "the

plaintiff has stated a claim against a diverse defendant that [the plaintiff] fraudulently

alleged is nondiverse," or (2) "the plaintiff has not stated a claim against a defendantthat

fthe plaintiff] properly alleges is nondiverse."   Int'l Energy   Ventures Mgmt., L.L.C. v

Uníted Energy Grp., Ltd., 818 F.3d 193, 199 (5th Cir. 2016) (citing Smallwood,385 F.3d

at 573) (emphasis in original). Stated another way, a defendant must prove: "(1) actual

fraud in the pleading ofjurisdictional facts, or (2) inability of the plaintiff to establish   a




2"Improper joinder" and "fraudulent joindet" ate equivalent terms; however, courts have made
clear that improper joinder is the preferred term. Smallwood,385 F.3d at 572.

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cause of action against the non-diverse party in state                coult." Travís v. Irby, 326 F .3d 644,

647 (SthCir. 2003) (citing Gríggs v. State Farm Lloyds,181 F.3d 694,698 (5th Cir.1999)).

       17.     To meet its burden under the second prong, a defendant must establish that

there is no reasonable basis to predict the plaintiff can recover against the non-diverse

defendant. Smallwood,385 F.3d at 573. Courts emphasize the possibility of recovery

"must be reasonable, not merely theoretical." Great Plains Trust Co. v. Morgan Stanley

Dean Witter & Co.,     3I    3 F.3 d   30   5,   3   12 (sth Cir. 2002).

       18.     Under Fifth Circuit law, courts use a Rule 12(b)(6){ype analysis to

determine   if a plaintiff   has a reasonable basis for recovery. Smallwood,385 F.3d at 573.

The court's key question is whether there exists "a reasonable basis for predicting that state

law might impose liability on the facts involved." 8., Inc. v. Miller Brewing Co.,663 F ,2d

545, 550 (5th Cir.     l98l).      In       cases      "in which the plaintiff has stated a claim but has

misstated or omitted discrete facts that would determine the propriety of joinder, . . . the

district court may, in its discretion, pierce the pleadings and conduct a summary inquiry."

Smallwood, 385 F.3d at 573 (citing Badon v. RJR Nabísco,224 F.3d 382, 389 n.10 (5th

Cir.2000)).

        19.     A defendant is improperly joined if it had no connection to the actions that

form the basis of plaintiff s claims and the defendant is merely another entity in               a   corporate

family.   e.g., McClenton v. Cannon Chevrolet, Cadillac, Nissan Inc., 4:16-CV-183-SA,

2017   WL   4322432, at *2 (N.D. Miss. Sept. 28, 2017). Similarly, a defendant who had no

involvement in the activities complained of in a plaintiffls petition is improperly joined.


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l,[elson v. Chevron USA Inc., Civ. Ac. No. CV M-09-320,2010         WL 11583424, at *3 (S.D.

Tex. Mar. 2,2010) ("[T]he facts set forth in [the defendant's] affidavit make clear that he

had no involvement in any activity that itself resulted in Plaintiffs injuries, and therefore

Plaintiff has no reasonable possibility of recovering against hirn on this claim.").

       20.    For instance, in McClenton, a driver filed suit against multiple defendants

over an allegedly defective vehicle. McClenton,2017 WL 4322432 at               *1.   Among the

defendants were two car dealerships-Cannon Chevrolet and Cannon Chrysler Dodge Jeep

Rarn-that belonged to the same corporate family. Id. But the driver had purchased the

vehicle frorn Cannon Chrysler Dodge Jeep Ram; Cannon Chevrolet's only connection to

the case was that it was a related entity. Id. at   *2.   The driver had simply "brought suit

against the wrong   eîtity." Id. As a result,   the court determined the driver was unable to

establish a cause of action against the second dealership and dismissed that defendant           as


improperly joined. Id.

       B.     Republic Services, Inc.

       21.    In this case, Plaintiff filed suit alleging breach of contract, quantum meruit,

and negligence based on a written Service Agreement. Exhibit           B.   Plaintiff asserts that

Republic Services, Inc., a Texas corporation, assumed and took over the Service

Agreement with Plaintiff upon acquiring RE Community Holdings             II. Id.   However, the

Texas corporation, Republic Services, Inc., did not acquire defendant RE Community

Holdings II, Inc. Exhibit   C. In fact, this particular Texas   corporation, Republic Services,

Inc., has no relationship whatsoever with RE Community Holdings          II.   Exhibit C. Just   as



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the driver in McClenton simply "brought suit against the wrong entity," Plaintiff brought

suit against the wrong entity. McClenton,2ÙlT WL 4322432             at*Z.   Because the Republic

Services entity sued by the Plaintiff has no relationship to the claims being asserted,

Plaintiff has failed to state   a   viable claim and the Court must dismiss the claims against the

Texas corporation, Republic Services, Inc.

       C.      Republic Services San Antonio, LLC

       22.     Plaintiffls Original Petition asserts that Republic Services     San   Antonio, LLC

also assumed and took over the Services Agreement with           Plaintiff. Exhibit B at 3. This   is

the sole mention of Republic Services San Antonio, LLC in Plaintiff s Original Petition.

In fact, this company has no relationship whatsoever to either RE Community Holdings II,

Inc. or River Recycling, LLC. Exhibit            C.   Once again, Plaintiffs have sued the wrong

company. Plaintiffs have no claim against Republic Services San Antonio, LLC. As such,

it too has been improperly joined.

       23.     Because Defendant Republic Services San Antonio,                     LLC has been
improperly joined, the Court must dismiss Plaintiffls claims against Republic Services San

Antonio, LLC. Int'l Energy Ventures,8l8 F.3d at209 ("When,             as here, a   court determines

that a nondivers e party has been improperly joined to defeat diversity, that party rnust be

dismissed without prej udice. ").

II.    The remaining parties are completely diverse.

       24.     Once Defendants Republic Services San Antonio, LLC and Republic

Selices, Inc. are dismissed, the remaining parties are completely diverse. Complete


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diversity exists when no plaintiff is a citizen of the same state as any defendant. Mas v

Perry,489 F.2d 1396, 1398-99 (5th Cir. 1974) (citing Strawbridge v. Curtiss, 7 U.S.                 (3


Cranch) 267 (1806)).

          25.   In this case, Plaintiff Texas Refuse LLC         asserts   it is a citizen of Texas.
Defendants River Recycling,         LLC and Re Community Holdings II, Inc. are citizens of

Delaware and Arizona as set forth above. Exhibit           C.   Since Texas Refuse LLC is not a

citizen of the same state as any of the remaining Defendants, complete diversity exists.

   ilI.         The amount in controversy exceeds $75,000.

          26.   Finally, the amount in controversy in this case exceeds the $75,000 threshold.

28 U.S.C. $ 1332(a). Plaintiff alleges in his Original Petition that he seeks monetary

damages "over $200,000 but not more than $1,000,000." Exhibit B at 1 ; see also 28 U.S.C


$ 1aa6(c)(2) ("Ifremoval        ofacivil action is soughtonthebasis of fdiversity of citizenship],

the sum demanded in good faith in the initial pleading shall be deemed to be the amount in

controversy . . .   .").   Thus, the amount in controversy requirement is satisfied.

          27.   Because the properly-joined parties are completely diverse and the amount

in controversy exceeds $75,000, this Court has jurisdiction over this case pursuant to 28

U.S.C. $ 1332(a).

                                  CONCLUSION AND PRAYER

          28.   Defendants River Recycling, LLC and RE Community Holdings                    II,   Inc.

respectfully request that the Court disrniss Plaintiff Texas Refuse LLC's claims against

Defendants Republic Services, Inc. and Republic Services San Antonio              LLC.   Defendants


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further request that this Court make the proper orders to affect removal of this cause from

the 73rd Judicial District Court in Bexar County, Texas, to this Court and that this Court

make such other orders as may be appropriate to effectuate the preparation and filing of a

true record in this case in all proceedings that may have been had in the 73rd Judicial

District Court in Bexar County, Texas.

                                          Respectfully submitted,


                                          Becr I ReoonN LLP

                                          By      /s/ Trov Ford
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                                          ATTORNEYS FOR DEFENDANTS
                                          RIVER RECYCLING, LLC and
                                          RECOMMUNITY HOLDINGS II, INC.




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                                         CERTIFICATE OF SERVICE

       I hereby certify that on November 28,2018, a true copy of the foregoing has been served
upon all parties or their attorneys contemporaneously with or before the filing of this pleading, in
a manner authorized by Federal Rule of Civil Procedure 5(b)(1), via certifîed mail.


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c b urw e I I @b ail ey andb ail eyp c. c om




                                                             /s/ Trov Ford
                                                                 Troy Ford




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